                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:04CR18

UNITED STATES OF AMERICA                  )
                                          )
            vs.                           )
                                          )                           ORDER
GERROD MICKELL SHUFORD (6),               )
                                          )
            Defendant.                    )
_________________________________________ )

       THIS MATTER is before the Court on Defendant’s Motion for Judgment of Acquittal,

orally made by Defendant’s attorney at the close of evidence on September 23, 2005. Having

heard all of the evidence at trial and taking such evidence in the light most favorable to the

Government, the Court finds that Defendant is not entitled to a judgment of acquittal.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Judgment of Acquittal is

hereby DENIED.




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                       Signed: October 14, 2005




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